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   5
       Attorneys for Plaintiffs
   6

   7                                UNITED STATES DISTRICT COURT
   8                              CENTRAL DISTRICT OF CALIFORNIA
   9                                        WESTERN DIVISION
  10   KONINKLIJKE PHILIPS N.V. AND PHILIPS                Case No. 2:19-cv-01366-JAK-GJS
       NORTH AMERICA LLC,
  11                                                       STIPULATION TO EXTEND TIME TO
                              Plaintiffs,                  RESPOND TO INITIAL COMPLAINT
  12                                                       BY NOT MORE THAN 30 DAYS (L.R.
              v.                                           8-3)
  13
       TONGFANG GLOBAL INC., TONGFANG                      Complaint Served: February 27, 2019
  14   GLOBAL LTD., WESTINGHOUSE
       ELECTRONICS LLC, WESTINGHOUSE                       Current Response Date: March 20, 2019
  15   ELECTRONICS LTD., TSINGHUA
       TONGFANG CO., LTD., SHENYANG                        New Response Date: April 19, 2019
  16   TONGFANG MULTIMEDIA
       TECHNOLOGY CO., LTD., SEIKI CORP.,
  17   AND SEIKI DIGITAL, INC.,
  18                          Defendants.
  19
  20          Plaintiffs Koninklijke Philips N.V. and Philips North America LLC (“Plaintiffs”) and
  21   Defendants Tongfang Global Inc. (“Tongfang Global”) and Westinghouse Electronics LLC
  22   hereby stipulate that Tongfang Global’s and Westinghouse Electronics LLC’s time to answer or
  23   otherwise respond to the Complaint in the above-captioned case shall be extended by 30 days
  24   from March 20, 2019, up to and including April 19, 2019. Good cause exists for this extension
  25   because Tongfang Global and Westinghouse Electronics LLC require time to evaluate the claims
  26   in the case and its possible options in answering or otherwise responding. No prior extension has
  27   been granted for Tongfang Global or Westinghouse Electronics LLC to answer or otherwise
  28   STIPULATION TO EXTEND TIME TO
       RESPOND TO INITIAL COMPLAINT BY                 1                           Case No. 2:19-CV-01366
       NOT MORE THAN 30 DAYS (L.R. 8-3)
Case 2:19-cv-01366-JAK-GJS Document 55 Filed 03/25/19 Page 2 of 4 Page ID #:289



   1   respond to the Complaint.

   2   Dated: March 25, 2019              By: /s/ Charles S. Barquist
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  20                                      Attorneys for Plaintiffs Koninklijke Philips N.V.
                                          and Philips North America LLC
  21
       Dated: March 25, 2019              By: /s/ Nicholas J. Whilt
  22
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  27                                      Westinghouse Electronics LLC
  28   STIPULATION TO EXTEND TIME TO
       RESPOND TO INITIAL COMPLAINT BY       2                            Case No. 2:19-CV-01366
       NOT MORE THAN 30 DAYS (L.R. 8-3)
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   1                                            ATTESTATION

   2          Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed, and

   3   on whose behalf the filing is submitted, concur in this document’s content and have authorized

   4   the filing of this document with the use of their electronic signature.

   5

   6   DATED: March 25, 2019                          By:     /s/ Charles S. Barquist
                                                              Charles Barquist
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  28   STIPULATION TO EXTEND TIME TO
       RESPOND TO INITIAL COMPLAINT BY                   3                              Case No. 2:19-CV-01366
       NOT MORE THAN 30 DAYS (L.R. 8-3)
Case 2:19-cv-01366-JAK-GJS Document 55 Filed 03/25/19 Page 4 of 4 Page ID #:291



   1                                        CERTIFICATE OF SERVICE

   2          The undersigned certifies that the foregoing document was filed electronically in

   3   compliance with Local Rule CV-5(a). As such, this document was served on all counsel who have

   4   consented to electronic service on the date of filing.

   5

   6   DATED: March 25, 2019                         By:        /s/ Charles S. Barquist
                                                                Charles Barquist
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  28   STIPULATION TO EXTEND TIME TO
       RESPOND TO INITIAL COMPLAINT BY                   4                                Case No. 2:19-CV-01366
       NOT MORE THAN 30 DAYS (L.R. 8-3)
